     Case 9:18-ap-01058-DS       Doc 298 Filed 03/05/21 Entered 03/05/21 16:10:42            Desc
                                  Main Document     Page 1 of 5


 1   GREENBERG TRAURIG, LLP
     Howard J. Steinberg (SBN CA 89291)
 2   1840 Century Park East, Suite 1900
     Los Angeles, California 90067-2121
 3   Telephone: 310.586.7700
     Facsimile: 310.586.7800
 4   Email: steinbergh@gtlaw.com
     Attorneys for Defendants
 5   BLUE WOLF CAPITAL PARTNERS, LLC
     BLUE WOLF CAPITAL FUND II, L.P.
 6   BLUE WOLF CAPITAL ADVISORS L.P.

 7
                                 UNITED STATES BANKRUPTCY COURT
 8
                                  CENTRAL DISTRICT OF CALIFORNIA
 9
                                           NORTHERN DIVISION
10

11   In re
                                                    CASE NO. 9:16-bk-11912-DS
12   CHANNEL TECHNOLOGIES GROUP, LLC,
                                                    Chapter 11
13         Debtor.
     ___________________________________            Adv. No. 9:18-ap-01058-DS
14
     CORPORATE RECOVERY ASSOCIATES,
15   LLC, as Trustee for the Liquidating Trust of   JOINT STIPULATION TO CONTINUE
     Channel Technologies Group, LLC,               STATUS CONFERENCE AND HEARING
16                                                  ON MOTION TO COMPEL FURTHER
             Plaintiffs.                            RESPONSES TO DISCOVERY;
17                                                  [PROPOSED] ORDER
     v.
18                                                  DATE:        April 21, 2021
     BLUE WOLF CAPITAL PARTNERS, LLC,               TIME:        11:30 a.m.
19   BLUE WOLF CAPITAL FUND II, L.P.,               PLACE:       Courtroom 201
     GLADSTONE INVESTMENT
20   CORPORATION, BLUE WOLF CAPITAL
     ADVISORS, L.P., FIDUS INVESTMENT
21   CORPORATION, FIDUS MEZZANINE
     CAPITAL, II, L.P., AVANTE MEZZANINE
22   PARTNERS SBIC, LP, AVANTE
     MEZZANINE II, INC., PENGDI HAN,
23   DHAN, LLC, GRANT THORNTON, LLP,
     CTG ADVANCED MATERIALS, LLC, CTS
24   CORPORATION, ELECTRO OPTICAL
     INDUSTRIES, DUFF & PHELPS, and CIT
25   BANK, N.A.,

26           Defendants.

27

28
                                                    1                             CASE NO. 9:16-bk-11912-DS

                                  JOINT STIPULATION TO CONTINUE HEARING
     ACTIVE55708755
     Case 9:18-ap-01058-DS        Doc 298 Filed 03/05/21 Entered 03/05/21 16:10:42                Desc
                                   Main Document     Page 2 of 5


 1          Defendants Blue Wolf Capital Partners, LLC, Blue Wolf Capital Fund II, L.P., and Blue Wolf
 2   Capital Advisors, L.P. and Plaintiff Corporate Recovery Associates, LLC (collectively, “the Parties”),
 3
     by and through undersigned counsel of record, hereby stipulate to continue the currently set status
 4
     hearing and hearing on Motion to Compel Further Responses to Discovery from March 10, 2021 at
 5
     11:30 a.m. to April 21, 2021 at 11:30 a.m. The deadline for the Parties to file a joint stipulation of
 6

 7   disputed issues is now April 16, 2021 by 5 p.m.

 8          IT IS SO STIPULATED AND AGREED.

 9                                                 Respectfully submitted,
10
     DATED: March 5, 2021                         GREENBERG TRAURIG, LLP
11

12
                                              By /s/ Howard J. Steinberg
13                                               Howard J. Steinberg
                                                 Attorneys for Defendants
14                                               BLUE WOLF CAPITAL PARTNERS, LLC
                                                 BLUE WOLF CAPITAL FUND II, L.P.
15                                               BLUE WOLF CAPITAL ADVISORS L.P.
16
     DATED: March 5, 2021                         LYNN PINKER HURST & SCHWEGMANN, LLP
17
                                                 /s/
18
                                                 Edward Jason Dennis
19                                               Special Litigation Counsel for
                                                 Corporate Recovery Associates, LLC,
20                                               Trustee for the Liquidating Trust of
                                                 Debtor Channel Technologies Group, LLC
21

22

23

24

25

26
27

28
                                                        2                              Adv. No. 9:18-ap-01058-DS
30
                                    JOINT STIPULATION TO CONTINUE HEARING
     ACTIVE55708755
31
     Case 9:18-ap-01058-DS         Doc 298 Filed 03/05/21 Entered 03/05/21 16:10:42                Desc
                                    Main Document     Page 3 of 5


 1                                             PROPOSED ORDER

 2          The Court, having considered the parties’ Second Joint Stipulation to Continue the status hearing

 3   and hearing on Motion to Compel Further Responses to Discovery, good cause appearing therefor, hereby

 4   orders that:

 5          The Status Hearing in this action is continued to April 21, 2021 at 11:30 a.m. The Parties shall file

 6   a joint stipulation of disputed issues on April 16, 2021 by 5 p.m.

 7

 8

 9
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         3                              Adv. No. 9:18-ap-01058-DS

                                    JOINT STIPULATION TO CONTINUE HEARING
     ACTIVE55708755
        Case 9:18-ap-01058-DS                     Doc 298 Filed 03/05/21 Entered 03/05/21 16:10:42                                      Desc
                                                   Main Document     Page 4 of 5



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Greenberg Traurig, LLP, 1840 Century Park East, Suite 1900, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled (specify): __________________________________________
 JOINT STIPULATION TO CONTINUE STATUS CONFERENCE AND HEARING ON MOTION TO COMPEL
________________________________________________________________________________________________
________________________________________________________________________________________________
 FURTHER RESPONSES TO DISCOVERY; [PROPOSED] ORDER
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
03/05/2021          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

03/05/2021         Terrine Pearsall                                                             /s/ Terrine Pearsall
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
Case 9:18-ap-01058-DS      Doc 298 Filed 03/05/21 Entered 03/05/21 16:10:42       Desc
                            Main Document     Page 5 of 5



                         PROOF OF SERVICE OF DOCUMENT

                                 ATTACHMENT PAGE

    1.   TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


    •    Jonathan Boustani jboustani@btlaw.com
    •    Cheryl S Chang Chang@Blankrome.com, Hno@BlankRome.com
    •    Edward J Dennis , eburch@lynnllp.com;srusso@lynnllp.com
    •    Craig N Haring charing@blankrome.com
    •    Paul J Laurin plaurin@btlaw.com, slmoore@btlaw.com;jboustani@btlaw.com
    •    Andrew B Levin alevin@wcghlaw.com, Meir@virtualparalegalservices.com;
         pj@wcghlaw.com; jmartinez@wcghlaw.com
    •    Christian A Orozco christian.a.orozco@usdoj.gov
    •    Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
    •    Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com; laik@gtlaw.com
    •    United States Trustee (ND) ustpregion16.nd.ecf@usdoj.gov




ACTIVE 53853599v1
